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                                                                                                FILED
                                                                                     John E. Triplett, Acting Clerk
                                                                                      United States District Court
                      IN THE UNITED STATES DISTRICT COURT
                                                                                  By casbell at 4:13 pm, Oct 21, 2020
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION

 UNITED STATES OF AMERICA,

        v.                                                 CASE NO.:2:19-cr-50

 VINCENT M. MESSBARGER,

                Defendant.

                              ORDER FOR PSYCHIATRIC OR
                             PSYCHOLOGICAL EXAMINATION

       This matter having come before the Court on Defendant’s Motion for Determination of

Mental Competency of Defendant Vincent Messbarger. Doc. 176.

       On October 20, 2020, Mr. Messbarger appeared before the Court on Defendant’s Motion

for Determination of Mental Competency of Defendant Vincent Messbarger. Doc. 176. During

the hearing, Mr. Messbarger appeared by telephone with the assistance of his daughter, Jessica

Messbarger. Mr. Messbarger is currently located in an in-patient assisted living facility. The

facility did not have internet access at the time of the hearing and, therefore, Mr. Messbarger was

unable to join by video. During the proceedings, Mr. Messbarger’s counsel stated that defense

was moving forward on Defendant’s Motion, doc. 176, under Title 18 U.S.C. § 4241(a) as to

mental competency to stand trial and that at this time the defense did not have adequate

information to challenge Mr. Messbarger’s competency at the time of the alleged offenses or to

assert an insanity defense. Indeed, no Notice of Insanity Defense has been filed with the Court at

this time. The Assistant United States Attorney assigned to this case informed the Court that the

Government does not oppose the motion. Based on the representations made during the hearing,

the Court finds there is reasonable cause to believe that Mr. Messbarger may presently be

suffering from a mental disease or defect rendering him mentally incompetent and, therefore, the

requested evaluation is appropriate.
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       Because there is reasonable cause to believe Defendant may suffer from a mental disease

or defect rendering him mentally incompetent to the extent he is unable to understand the nature

and consequences of the proceedings against him or to assist properly in his defense, the Court

ORDERS a mental examination pursuant to 18 U.S.C. § 4247, as authorized by 18 U.S.C. §§

4241 and 4242.

       The Court may commit a defendant for up to thirty days to the custody of the Attorney

General for an evaluation at a BOP facility, but a custodial evaluation is not required. See 18

U.S.C. § 4247(b). Given Defendant is not being detained and a lengthy observation period is

likely not required, a noncustodial evaluation is more appropriate, and the Court will appoint a

local expert to conduct Defendant’s evaluation as set forth in further detail below. See id.

       Within fourteen days of this Order, defense counsel and the Government should nominate

a licensed or certified psychiatrist or clinical psychologist by a filing that attaches the nominee’s

resume or CV. See id. (requiring a “licensed or certified psychiatrist or psychologist”). The

Court will then appoint an examiner to conduct the evaluation, set a time period within which

Defendant must submit to be examined, and outline the parameters of the evaluation and the

necessary contents of the report. Once the evaluation is complete, the evaluator will be

responsible for submitting the report to the Court, upon receipt of which the Court will file the

report under seal and schedule a competency hearing under 18 U.S.C. § 4247(d). Under the

Guide to Judiciary Policy § 320.20.60, all costs associated with the mental evaluation will be the

responsibility of the Department of Justice and all invoices must be submitted to the U.S.

Attorney.

       IT IS FURTHER ORDERED that the period of time for appointment of the examiner,

testing and evaluation of Defendant, and preparation of the written report, is excludable from

calculation under the Speedy Trial Act. 18 U.S.C. § 3161(h)(l)(A).


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    SO ORDERED, this 21st day of October, 2020.




                              BENJAMIN W. CHEESBRO
                              UNITED STATES MAGISTRATE JUDGE
                              SOUTHERN DISTRICT OF GEORGIA




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